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                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DIVISION

UNITED STATES OF AMERICA                                    §
                                                            §
V.                                                          §              NO.5:17-CR-00380-DAE
                                                            §
VERNON FARTHING, III                                        §

                                          TRIAL MEMORANDUM:
     [DEFENSE ENTITLED TO EXPOSE SUBTLE, UNCONSCIOUS DESIRE TO CURRY FAVOR]

         Defendant has a constitutional right to cross-examine a witness regarding his motive to

curry favor and avoid prosecution, even if same only affects that witness’s subconscious desire to

testify favorably for the prosecution:

         ‘It is especially important in a case where a witness or an accomplice may have a
         substantial reason to cooperate with the government that a defendant be permitted
         to search for an agreement between the government and the witness.’ United States
         v. Crumley, 565 F.2d 945, 949 (5th Cir. 1978). Whether such a deal existed is not
         crucial. United States v. Mayer, 556 F.2d 245, 249 (5th Cir. 1977). What counts is
         whether the witness may be shading his testimony in an effort to please the
         prosecution. ‘A desire to cooperate may be formed beneath the conscious level, in
         a manner not apparent even to the witness, but such a subtle desire to assist the
         state nevertheless may cloud perception.’ Burr v. Sullivan, 618 F.2d 583, 587 (9th
         Cir. 1980).

Greene v. Wainwright, 634 F.2d 272, 276 (5th Cir. 1981)1

                                                         Respectfully submitted,


                                                         By: /s/ Gerald H. Goldstein
                                                                Gerald H. Goldstein
                                                                Attorney for Vernon Farthing

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  See also Ortiz v. Yates, 704 F.3d 1026 (9th Cir. 2012) [subtle motivations include the fear that inconsistent statements
may result in subsequent prosecutions for false statements, cf. 18 U.S.C. § 1001]; Alvarez v. Ercole, 763 F.3d 223 (2d
Cir. 2014) [unpursued lines of investigation]; Blackston v. Rapelje, 780 F.3d 340 (6th Cir. 2014) [evidence that witness
recanted prior testimony]; Olden v. Kentucky, 488 U.S. 227 (1988) [motive to lie for loved ones]; Slovik v. Yates, 556
F.3d 747 (9th Cir. 2009) (evidence witness is currently on probation; evidence that witness has lied in a sworn
statement). This case turns on Government witness Galindo’s credibility. Denying Defendant Farthing an opportunity
to confront and cross-examine Galindo regarding these motives to fabricate will cause irreparably harm to his ability
to present a defense.
